
Clayton Greene Jr., Senior Judge*
This matter came before the Court on the Joint Petition of the Attorney Grievance Commission of Maryland and Respondent, Charles Lee Tobias, to disbar the Respondent from the practice of law. The Court having considered the Petition, it is this 26th day of October, 2018, by the Court of Appeals of Maryland;
ORDERED, that Respondent, Charles Lee Tobias, be, and he hereby is, disbarred from the practice of law in the State of Maryland for violation of Rule 8.4(b), (c) and (d) of the Maryland Lawyers' Rules of Professional Conduct; and it is further
ORDERED, that the Clerk of this Court shall remove the name of Charles Lee Tobias from the register of attorneys in this Court and certify that fact to the Trustees of the Client Protection Fund of the Bar of Maryland and all Clerks of all judicial tribunals in this State in accordance with Maryland Rule 19-736(d).

Judge McDonald did not participate in this matter.

